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 8

 9                               UNITED STATES DISTRICT COURT

10                              EASTERN DISTRICT OF CALIFORNIA

11                                         FRESNO DIVISION

12
      GERALD CARLIN, JOHN RAHM, PAUL                  Case No. 1:09 CV 00430-AWI (EPG)
13    ROZWADOWSKI and DIANA WOLFE,
      individually and on behalf of themselves and    CLASS ACTION
14    all others similarly situated,
                                                      STIPULATION ORDER REGARDING
15                                    Plaintiffs,     DEFENDANT CALIFORNIA DAIRIES,
                                                      INC. PRODUCING DOCUMENTS AND
16    v.                                              RESPONDING TO PLAINTIFFS’
                                                      WRITTEN DISCOVERY
17    DAIRYAMERICA, INC., and
      CALIFORNIA DAIRIES, INC.,
18
                                      Defendants.
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 1           WHEREAS, in advance of the June 30, 2017 deadline for written discovery, Plaintiffs

 2    served requests for production and interrogatories on Defendant California Dairies, Inc. (“CDI”)

 3    on January 6, 2017.

 4           WHEREAS, CDI served its written responses to Plaintiffs' requests for production and

 5    interrogatories on March 9, 2017, and began producing responsive documents on July 14, 2017.

 6           WHEREAS, on July 19, 2017, Plaintiffs filed a motion to compel Defendant CDI to

 7    respond to written discovery (ECF No. 443-6), and CDI filed an opposition to the same (ECF

 8    No. 442).

 9           WHEREAS, on July 26, 2017 the Court held oral argument (ECF No. 447, 451) and took

10    the matter under advisement.

11           WHEREAS, on August 22, 2017, the Court granted in part and denied in part Plaintiffs’

12    motion to compel CDI to respond to written discovery and instructed the parties to meet and

13    confer regarding the timing of production and submit a stipulation and proposed order regarding

14    a deadline for completing production (the “Order”) (ECF No. 472).

15           WHEREAS, the parties have met and conferred and agreed to a production schedule.

16           IT IS STIPULATED, subject to Court approval, that CDI will produce electronic

17    documents on a rolling basis to be completed within 45 days on October 13, 2017. The first

18    good-faith production will occur no later than September 19, 2017. CDI’s production of
19    hardcopy documents will be completed within 90 days, on November 27, 2017.

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     Case 1:09-cv-00430-AWI-EPG Document 479 Filed 08/30/17 Page 3 of 5



 1    DATED: August 29, 2017       Respectfully submitted,

 2                                 BERMAN TABACCO
 3

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 6    Dated: August 29, 2017       HANSON BRIDGETT LLP

 7
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14                                 Counsel for Defendant California Dairies, Inc.

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 1                                                ORDER

 2           Pursuant to the parties’ stipulation, CDI will produce electronic documents on a rolling

 3    basis to be completed within 45 days on October 13, 2017. The first production will occur no

 4    later than September 19, 2017. CDI’s production of hardcopy documents will be completed

 5    within 90 days, on November 27, 2017.

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      IT IS SO ORDERED.
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 8       Dated:    August 30, 2017                            /s/
                                                       UNITED STATES MAGISTRATE JUDGE
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